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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S. INC.,

         Plaintiff,

v.                                                 Case No. 4:23-cv-163-AW-MJF


RONALD D DESANTIS, in his official
capacity as GOVERNOR OF FLORIDA,
et al.,
         Defendants.
                                  /



                                      JUDGMENT

         This case was resolved on motions to dismiss. Plaintiff's claims against the

Governor and the Department Secretary are dismissed without prejudice for lack of

subject matter jurisdiction. Plaintiff's claims against the Central Florida Tourism

Oversight District board members are dismissed on the merits for failure to state a

claim.

                                                JESSICA J. LYUBLANOVITS
                                                CLERK OF COURT

January 31, 2024                                s/ KELLI MALU
Date                                            Deputy Clerk: Kelli Malu
